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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on June 14, 2024

UNITED STATES OF AMERICA
V.

MICHAEL STUCKEY, and
MARCEL SELLERS,

Defendants.

The Grand Jury charges that:

CRIMINAL NO. 24-CR-307 (LLA)
GRAND JURY ORIGINAL

VIOLATIONS:

18 U.S.C. § 933(a)(3)

(Firearms Trafficking Conspiracy)

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)
(Unlawful Possession with Intent to
Distribute Cocaine Base)

18 U.S.C. §§ 922(g)(1) and 924(e)(1)
(Unlawful Possession of a Firearm and
Ammunition by a Person Convicted of a
Crime Punishable by Imprisonment for a
Term Exceeding One Year)

18 U.S.C. §§ 922(g)(8) and 924(e)(1)
(Unlawful Possession of a Firearm and
Ammunition While Subject to a Court
Order)

18 U.S.C. § 922(0)(1)

(Unlawful Possession of a Machinegun)
18 U.S.C. § 924(c)(1)(B) Gi)

(Possession of a Machinegun in
Furtherance of a Drug Trafficking
Offense)

FORFEITURE:
21 U.S.C. §§ 853(a) and (p);
18 U.S.C. § 924(d); and

28 U.S.C. § 2461(c)

INDICTMENT

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COUNT ONE
Between on or about August 13, 2022, and on or about July 1, 2024, in the District of

Columbia, the Eastern District of North Carolina, and elsewhere, MICHAEL STUCKEY and
MARCEL SELLERS did knowingly conspire and agree with persons known and unknown to
the grand jurors to ship, transport, transfer, cause to be transported, and otherwise dispose of one
or more firearms, and to receive from another person, one or more firearms, including, but not
limited to, the following:

1. Springfield KDM Elite, 10 mm caliber handgun, bearing serial number

BA662199;

2. Glock 30, .45 caliber handgun, bearing serial number BYSS387;

3. Glock 43X, 9mm caliber handgun, bearing serial number CAXH632;

4. Glock 27 GEN 5, .40 caliber handgun, bearing serial number CAUA172; and

5. Glock 43X, 9mm caliber handgun, bearing serial number AHYH316;
to another person, in and affecting interstate and foreign commerce, knowing and having
reasonable cause to believe that the use, carrying, possession, and receipt of a firearm by the
recipient would constitute a felony (as defined in Section 932(a), in violation Title 18, United
States Code, Sections 933(a)(1) and 933(a)(2).

(Firearms Trafficking Conspiracy, in violation of Title 18, United States Code,
Section .933(a)(3))

COUNT TWO

On or about May 15, 2024, within the District of Columbia, MICHAEL STUCKEY, did
unlawfully, knowingly, and intentionally possess with intent to distribute a mixture and
substance containing a detectable amount of cocaine base, also known as crack, a Schedule I

narcotic drug controlled substance.
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(Unlawful Possession with Intent to Distribute Cocaine Base, in violation of
Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C))

COUNT THREE

On or about May 15, 2024, within the District of Columbia, MICHAEL STUCKEY,
knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, in the United States District Court for the District of Columbia, Case No.
16-CR-83, did unlawfully and knowingly receive and possess firearms, that is—a Glock 30,
4s caliber pistol, bearing serial number BYSS387; a Glock 27 GEN 5, .40 caliber pistol, bearing
serial number CAUA172; and a Smith & Wesson SD9 VE, 9mm caliber pistol, bearing serial
number FXS9767—and did unlawfully and knowingly receive and possess ammunition, that is,
.45 caliber ammunition, .40 caliber ammunition, and 9mm ammunition, all of which had been

possessed, shipped and transported in and affecting interstate and foreign commerce.

SENTENCING ALLEGATION (18 U.S.C. § 924(e)(1))

Before MICHAEL STUCKEY committed the offense charged in this Count,
MICHAEL STUCKEY had at least three previous convictions for offenses qualifying under
18 U.S.C. § 924(e)(2) that were committed on occasions different from one another.

(Unlawful Possession of a Firearm and Ammunition by a Person Convicted

of a Crime Punishable by Imprisonment for a Term Exceeding One Year, in

violation of ‘litle 18, United States Code, Sections 922(g)(1) and 924(e)(1))

COUNT FOUR

On or about May 15, 2024, within the District of Columbia, MICHAEL STUCKEY,
knowing he was subject to a court order issued by the Superior Court of the District of Columbia,
entered on March 14, 2024, in Case No. 2024 DVM 000335, that was issued after a hearing of
which he received actual notice, and at which he had an opportunity to participate, restraining

him from harassing, stalking, or threatening an intimate partner, that by its terms explicitly
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prohibited the use, attempted use or threatened use of physical force against such intimate
partner that would reasonably be expected to cause bodily injury, did unlawfully and knowingly
receive and pateess firearms, that is—a Glock 30, .45 caliber pistol, bearing serial number
BYSS387; a Glock 27 GEN 5, .40 caliber pistol, bearing serial number CAUAI72; and a Smith
& Wesson SD9 VE, 9mm caliber pistol, bearing serial number FXS9767—and did unlawfully
and knowingly receive and possess ammunition, that is, .45 caliber ammunition, 40 caliber
ammunition, and 9mm ammunition, all of which had been possessed, shipped and transported in

and affecting interstate and foreign commerce.

SENTENCING ALLEGATION (18 U.S.C. § 924(e)(1))

Before MICHAEL STUCKEY committed the offense charged in this Count,
MICHAEL STUCKEY had at least three previous convictions for offenses qualifying under
18 U.S.C. § 924(e)(2) that were committed on occasions different from one another.

(Unlawful Possession of a Firearm and Ammunition While Subject to a

Court Order, in violation of Title 18, United States Code, Sections 922(g)(8) and

924(e)(1))

COUNT FIVE

On or about May 15, 2024, within the District of Columbia, MICHAEL STUCKEY, did
knowingly and unlawfully possess a machinegun, as defined by Title 26, United States Code,
Section 5845(b), that is, a Glock 27 GEN 5, .40 caliber pistol, bearing serial number CAUA172,
equipped with a conversion device designed and intended to convert the pistol into a weapon
which shot, and was designed to shoot, automatically more than one shot, without manual
reloading, by a single function of the trigger.

(Unlawful Possession of a Machinegun, in violation of Title 18, United States
Code, Section 922(0)(1))
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COUNT SIX

On or about May 15, 2024, within the District of Columbia, MICHAEL STUCKEY, did
unlawfully and knowingly possess in furtherance of, a drug trafficking offense, for which he may
be prosecuted in a court of the United States, that is, Count Two of this Indictment which is
incorporated herein, a machinegun, that is, a Glock 27 GEN 5, .40 caliber pistol, bearing serial
number CAUA172, equipped with a conversion device designed and intended to convert the
pistol into a weapon which shot, and was designed to shoot, automatically more than one shot,
without manual reloading, by a single function of the trigger.

(Possession of a Machinegun in Furtherance of a Drug Trafficking Offense,
in violation of Title 18, United States Code, Section 924(c)(1)(B)(ii))

COUNT SEVEN

On or about July 1, 2024, within the District of Columbia, MICHAEL STUCKEY, did
unlawfully, knowingly, and intentionally possess with intent to-distribute a mixture and
substance containing a detectable amount of cocaine base, also known as crack, a Schedule II
narcotic drug controlled substance.

(Unlawful Possession with Intent to Distribute Cocaine Base, in violation of
Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C))

COUNT EIGHT

On or about July 1, 2024, within the District of Columbia, MICHAEL STUCKEY,
knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, in the United States District Court for the District of Columbia, Case No.
16-CR-83, did unlawfully and knowingly receive and possess a firearm, that is, a Glock 23, .40

caliber pistol, bearing serial number BPCE594, and did unlawfully and knowingly receive and
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-possess ammunition, that is, .40 caliber ammunition, all of which had been possessed, shipped

and transported in and affecting interstate and foreign commerce.

SENTENCING ALLEGATION (18 U.S.C. § 924(e)(1))

Before MICHAEL STUCKEY committed the offense charged in this Count,
MICHAEL STUCKEY had at least three previous convictions for offenses qualifying under
18 USC. § 924(e)(2) that were committed on occasions different from one another.

(Unlawful Possession of a Firearm and Ammunition by a Person Convicted

of a Crime Punishable by Imprisonment for a Term Exceeding One Year, in

violation of Title 18, United States Code, Sections 922(g)(1) and 924(e)(1))

COUNT NINE

On or about July 1, 2024, within the District of Columbia, MICHAEL STUCKEY,
knowing he was subject to a court order issued by the Superior Court of the District of Columbia, -
entered on March 14, 2024, in Case No. 2024 DVM 000335, that was issued after a hearing of
which he received actual notice, and at which he had an opportunity to participate, restraining
‘him from harassing, stalking, or threatening an intimate partner, that by its terms explicitly
prohibited | the use, attempted use or threatened use of physical force against such intimate
partner that would reasonably be expected to cause bodily injury, did unlawfully and knowingly.
receive and possess a firearm, that is, a Glock 23, .40 caliber pistol, hearing serial number
BPCE594, and did unlawfully and knowingly receive and possess ammunition, that is, .40
caliber ammunition, all of which had been possessed, shipped and transported in and affecting

interstate and foreign commerce.
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SENTENCING ALLEGATION (18 U.S.C. § 924(e)( 1))

Before MICHAEL STUCKEY committed the. offense charged in this Count,
MICHAEL STUCKEY had at least three previous convictions for offenses qualifying under
18 U.S.C. § 924(e)(2) that were committed on occasions different from one another.

(Unlawful Possession of a Firearm'and Ammunition While Subject to a
Court Order, in violation of Title 18, United States Code, Sections 922(g)(8) and
924(e)(1))

COUNT TEN

On or about July 1, 2024, within the District of Columbia, MICHAEL STUCKEY, did
knowingly and unlawfully possess a machinegun, as defined by Title 26, United States Code,
Section 5845(b), that is, a Glock 23, .40 caliber pistol, bearing serial number BPCE594,
equipped with a conversion device designed and intended to convert the pistol into a weapon
which shot, and was designed to shoot, automatically more than one shot, without manual

reloading, by a single function of the trigger.

(Unlawful Possession of a Machinegun, in violation of Title 18, United States
Code, Section 922(0)(1))

COUNT ELEVEN

On or about July 1, 2024, within the District of Columbia, MICHAEL STUCKEY, did
unlawfully aud knowingly possess in furtherance of, a drug trafficking offense, for which he may
be prosecuted in a court of the United States, that is, Count Seven of this Indictment which is
incorporated herein, a machinegun, that is, a Glock 23, .40 caliber pistol, bearing serial number
BPCE594, equipped with a conversion device designed and intended to convert the pistol into a
weapon which shot, and was designed to shoot, automatically more than one shot, without

manual reloading, by a single function of the trigger.
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(Possession of a Machinegun in Furtherance of a Drug Trafficking Offense,
in violation of Title 18, United States Code, Section 924(c)(1)(B)(Gi))

FORFEITURE ALLEGATION

1. Upon conviction of the offenses alleged in Counts Two and Seven, the defendant
shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853(a), any
property constituting, or derived from, any proceeds obtained, directly or indirectly as the result
of these offenses; and any property used, or intended to be used, in any manner or part, to
commit, or to facilitate the commission of this offense. The United States will also seek
forfeiture money judgment against the defendant equal to the value of any property constituting,
or derived from, any proceeds obtained, directly. or indirectly, as the result of these offenses and
any property used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of these offenses.

2. Upon conviction of the offenses alleged in Counts One, Three, Four, Five, Six,
Eight, Nine, Ten, and Eleven, the defendants shall forfeit to the United States, pursuant to Title
18, United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any
firearms and ammunition involved in or used in the knowing commission of the offense,
including but not limited to a Glock 30, .45 caliber pistol, Serial Number BYSS387, a Glock 27
GEN 5, .40 caliber pistol, Serial Number CAUA172, a Smith & Wesson SD9 VE, 9mm caliber
pistol, Serial Number FXS9767, a Glock 23, .40 caliber pistol, Serial Number BPCE594, .45
caliber ammunition, .40 caliber ammunition, and 9mm ammunition.

3. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendants:

(a) cannot be located upon the exercise of-due diligence;

(b) has been transferred or sold to, or deposited with, a third party;
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(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property that cannot be divided without
difficulty;
the defendant shall forfeit to the United States any other property of the defendant, up to the
value of the property described above, pursuant to Title 21, United States Code, Section 853(p).
(Criminal Forfeiture, pursuant, to Title 18, United States Code, Section
981(a)(1)(C), Title 18, United States Code, Section 924(d), Title 28, United Sates
Code, Section 2461(c), and Title 21, United States Code, Section 853(p))

A TRUE BILL:

FOREPERSON.

[Noth Ni. Yonvre LorH#

Attorney of the United States in
and for the District of Columbia.
